 4:08-cr-03142-JMG-CRZ             Doc # 66   Filed: 04/23/09    Page 1 of 2 - Page ID # 85




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )                    4:08CR3142
                                              )
              V.                              )
                                              )                 MEMORANDUM
WILLIE LEE STURGIS and                        )                  AND ORDER
MARY ELIZABETH MCDANIEL,                      )
                                              )
                      Defendants.             )

       This matter came on for a telephone conference with counsel. Mr. Schense orally
moved for a continuance arguing that his client had recently been sentenced in state court,
that his client was at the Women’s Prison in York, and that he needed additional time to
prepare for trial. Mr. Monzon objected saying that he was ready for trial.1 Mr. Gillan was
ready for trial but did not object to a continuance if the court could give him a date certain.
The court suggested various dates such as May 4, 2009 and June 29, 2009, but Mr. Gillan
was unavailable on those dates. I am told that the case ahead of this one will go to trial as
scheduled on April 27, 2009. Given that fact and the fact that Mr. Schense genuinely needs
additional time,

       IT IS ORDERED that:

       (1)    This case is taken off the trial calendar and referred to Magistrate Judge Piester
for rescheduling. I request that Judge Piester pick a date where this case can be set as the
number one case above all others.

      (2)    In the interests of justice, the time between today’s date and the date of trial set
by Judge Piester is excluded for computation purposes under the Speedy Trial Act. 18
U.S.C. § 3161.

       1
        Without intending any criticism of Mr. Monzon, I note that earlier this year the court
accommodated Mr. Monzon on the scheduling of a number of cases so that he could travel
to see his family in the Carribean.
4:08-cr-03142-JMG-CRZ     Doc # 66    Filed: 04/23/09   Page 2 of 2 - Page ID # 86




    DATED this 23rd day of April, 2009.

                                     BY THE COURT:

                                     S/Richard G. Kopf
                                     United States District Judge
